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                       Exhibit 18
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                                                                     Page 1
                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

        -------------------------------- §
        IN RE: XARELTO (RIVAROXABAN)     §MDL 2592
        PRODUCTS LIABILITY LITIGATION    §
                                         §
                                         §SECTION L
        THIS DOCUMENT RELATES TO ALL     §
        CASES                            §
                                         §
                                         §JUDGE ELDON E. FALLON
                                         §
                                         §MAG. JUDGE NORTH
                                         §
                                         §
        --------------------------------


                                        - - -

                                DECEMBER 9, 2016

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              PROTECTED -- SUBJECT TO FURTHER PROTECTIVE REVIEW

                  Deposition of JAN ROSING, PH.D., held at
             Simmons & Simmons, Claude Debussylaan 247, 1082 MC
             Amsterdam, Netherlands, commencing at 9:04 a.m., on
             the above date, before Trina B. Wellslager,
             Registered Professional Reporter and Notary Public.

                                        - - -

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                                                                     Page 2
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                                                                   Page 33
   1    which is -- yes.
   2          Q.   Are you with me?
   3               You say:    It is possible that lower doses might
   4    be effective -- as effective as the doses that were
   5    tested.
   6          A.   That is stated in these papers that I referred
   7    to.
   8          Q.   Right.    Now, it might be possible but we do not
   9    know whether lower doses of rivaroxaban are as effective
  10    as the doses that were tested, do we?
  11          A.   Well, this is a problem actually with Xarelto
  12    and in the treatment of stroke in atrial fibrillation
  13    patients.    There has not been the dose-ranging studies.
  14    So this is the problem here that, let's say, to
  15    establish or conclude about a minimum effective dose,
  16    you have to do dose-ranging studies for the particular
  17    disease that you'd like to prevent and there are no
  18    Phase II dose-ranging studies in atrial fibrillation
  19    patients, treatment for stroke risk.
  20          Q.   So we do not know whether there are lower doses
  21    that are as effective for atrial fibrillation because
  22    the study was not done, correct?
  23          A.   The study is not done, and I think that studies
  24    should have been done.
  25          Q.   But because the study has not been done, we do



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                                                                   Page 40
   1    rivaroxaban must be discontinued."
   2               When you say "rivaroxaban must be
   3    discontinued," do you mean it must be replaced with
   4    another therapy?
   5         A.    Yes.
   6         Q.    Such as warfarin, correct?
   7         A.    Or dabigatran or another drug, apixaban.
   8         Q.    You're not offering any opinion on how much the
   9    dose of rivaroxaban would need to be reduced to lower
  10    bleeding risk while maintaining stroke protection, are
  11    you?
  12         A.    Unless -- until you do a dose-finding study, it
  13    is difficult to draw a definite conclusion what would be
  14    the minimal dose that is effective.          But I, myself, have
  15    a feeling that a considerably lower dose of Xarelto will
  16    be effective in preventing stroke.
  17         Q.    My question, Dr. Rosing, is:         Are you offering
  18    any opinion on what the alternative dose of rivaroxaban
  19    should be?
  20         A.    Not in numbers.
  21         Q.    Your opinion is that it should be lower, but
  22    you are not offering an opinion about how much lower,
  23    correct?
  24         A.    We can start a kind of discussion about what I
  25    think I would try in a dose-finding trial, but this is,



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                                                                   Page 41
   1    let's say, my personal opinion.
   2         Q.    It's not based on scientific evidence?
   3         A.    It is not based on scientific evidence.
   4         Q.    Would you agree that if you --
   5         A.    Well, it is based on -- well, not based on
   6    scientific evidence.       Let's say my opinion about this is
   7    based on my knowledge of how Xarelto inhibits -- or
   8    rivaroxaban -- let's call it rivaroxaban -- inhibits
   9    coagulation.
  10               And let's say a drug that, in a considerable
  11    number of patients, is constantly at a level at which
  12    all Factor Xa that is generated can be inhibited, I
  13    think is a dangerous drug because, let's say, it stops
  14    all clotting; and that means that you are -- it's very
  15    nice for preventing stroke; but at the same time, you're
  16    at a high bleeding risk.
  17               So let's say looking as a coagulation expert at
  18    doses of rivaroxaban given and looking at the
  19    pharmacokinetic data and the levels of rivaroxaban to
  20    which a certain number of patients are exposed during
  21    24 hours, I think this is -- and I use my own words and
  22    tones, that is a killing dose for Factor Xa.
  23               So let's say, for me, this is a very dangerous
  24    dose.     So I would half it or probably take a quarter of
  25    that amount, which is, in my opinion, from a coagulation



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   1    rephrase my answer.
   2         Q.    It has not been tested whether patient outcomes
   3    would, in fact, be improved through individualized
   4    dosing of rivaroxaban, has it?
   5         A.    I'm not aware of studies.
   6         Q.    And you understand that fixed dosing of
   7    rivaroxaban without individualized dosing based on blood
   8    tests has been approved by the FDA, correct?
   9         A.    I think it has been approved by the FDA, yes,
  10    because they approved probably the drug for
  11    20 milligrams dosing in the majority of the patients
  12    without monitor- -- without dosing or monitoring.
  13         Q.    And you think it's possible that more
  14    individualized dosing than 20 milligrams for everyone
  15    might make rivaroxaban safer, right?
  16         A.    Yes.
  17         Q.    But you would agree that even without that
  18    individualized dosing, the fixed dose has been approved
  19    as safe and efficacious by the FDA, right?
  20         A.    I don't know, to be honest, whether it's
  21    approved to be safe and effic- -- efficacious, yeah,
  22    that are words -- it's approved for treatment, yeah, for
  23    treatment of atrial fibrillation patients, 20-milligram
  24    dose.     And I think they approved it because they
  25    believed it is safe and efficacious to a certain extent,



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   1    yes, because otherwise you would not approve it, I
   2    think, when you think it's not safe and not effective.
   3         Q.    There have been no clinical trials in which
   4    patients had their dose of Xarelto adjusted based on the
   5    results of a PT test or other monitor- --
   6         A.    I'm not aware of that.       I think I answered that
   7    already.
   8         Q.    To establish scientifically that patient
   9    outcomes would be improved through individualized dosing
  10    based on blood tests, you would need to do a study,
  11    correct?
  12         A.    Can you repeat that?
  13         Q.    To determine scientifically that patient
  14    outcomes would be improved through individualized dosing
  15    based on blood tests, you would need to do a clinical
  16    study, right?
  17         A.    You have to do a clinical study and I wonder
  18    whether the ROCKET is already the clinical study because
  19    there you see that when you measure the prothrombin
  20    time -- and that's what we are discussing here -- in a
  21    population of patients treated with rivaroxaban, you see
  22    that individuals with a high PT have a higher risk of
  23    bleeding than individuals with a low PT.
  24               So I think, let's say, that already indicates
  25    that there is a particular part of the population of the



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                                                                  Page 109
   1    quartile.
   2         Q.    You wouldn't like -- you'd rather be in the
   3    first quartile than the third quartile, wouldn't you?
   4         A.    I think so, yes.
   5         Q.    And you'd rather be in the first quartile than
   6    the second quartile, wouldn't you?
   7         A.    If I have a choice, yes.
   8         Q.    So why did you not recommend a dose reduction
   9    for people in the third quartile or the second quartile?
  10         A.    Well, I said I take a conservative -- well,
  11    adaptation of the dose or change of -- of anticoagulant
  12    drug.     And I took a safe quartile because that is 25
  13    percent of the patients that are at a higher risk than
  14    the other 75 percent.
  15               It is my opinion also that with respect to
  16    bleeding, all patients that are treated with rivaroxaban
  17    are exposed to an excessive bleed, to a high bleeding
  18    risk.     Yes.   So it's always causing bleeding, and with
  19    respect to bleeding, you should reduce the dose as much
  20    as you can.
  21               But, of course, at a certain point you come at
  22    a dose, and I don't know this dose, where you've lost
  23    your efficacy with respect to stroke prevention.             And
  24    that is actually the meaning of why you give a patient
  25    this drug.       You want to protect strokes.



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                                                                   Page 111
    1        Q.     Did you mean scientific --
    2        A.     That is probably a translation from Dutch to
    3    English.    We say to underscore or support.
    4        Q.     Scientific support.
    5        A.     Yeah.    I say underbuilding because that is
    6    Dutch.
    7        Q.     All right.    So you're saying you do not have
    8    scientific support to identify an alternative dose that
    9    would be safer without being less efficacious?
  10         A.     Yeah.   You use the words "safe" and
  11     "efficacious" in the same sentence.          I think there is --
  12     with respect to the first law of blood coagulation or
  13     hemostasis, the lowest dose is the best dose with
  14     respect to safety.      So for safety, you should have a
  15     low -- or you should not use an anticoagulant at all
  16     when it concerns safety in bleeding.
  17                What we have here is, of course, the efficacy
  18     of treatment.      That's another part of the story.         And as
  19     long as there is not a dose-finding study in atrial
  20     fibrillation patients, and there is no minimal dose and
  21     a minimal effective dose established, well, I cannot
  22     tell you what dose -- how low the dose can be to get
  23     optimal protection of stroke.        I can tell you, when it
  24     concerns risk of bleeding, the dose should be zero or as
  25     low as possible.



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                                                                   Page 174
    1    in patients with rivaroxaban?
    2          A.   Well, I -- I'm not recommending that.          When I
    3    myself would be prescribed rivaroxaban, I probably would
    4    also want it lighter for myself.         But I think this is a
    5    sufficient first set of dose, knowing there is a
    6    relatively small intraindividual variability sufficient
    7    to do one or two assays at the beginning of therapy,
    8    then determine the dose required or shift -- when there
    9    is overdoses, shift to another anticoagulant, and that's
  10     it.   I don't think I use the word "monitoring" too
  11     often.     But anyway, this is my answer.
  12           Q.   On Page 21 of your report, you state -- at the
  13     last paragraph in the middle, you say, "FDA reviewers of
  14     the sponsor briefing document, as well as members of the
  15     Cardiovascular and Renal Drugs Advisory Committee, noted
  16     that twice-daily dosing might have been more safe and
  17     effective than a once-daily dosing regimen."
  18                Do you see that?
  19           A.   Yes.
  20           Q.   They were stating an unproven hypothesis,
  21     correct?
  22           A.   Huh?
  23           Q.   They were stating a hypothesis that has not
  24     been proven, correct?
  25           A.   This has not been proven.        This is a suggestion



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                                                                   Page 175
    1    made by FDA reviewers and also members of a committee --
    2    I don't know who were the members of the Cardiovascular
    3    and Renal Drugs Advisory Committee -- noted that.             And
    4    there are also several scientific papers and literature
    5    where people also suggest that twice-daily dosing -- and
    6    I would also reduce the total daily dose at the same
    7    time, yeah -- would be more advantageous to both
    8    protection and bleeding risk.
    9        Q.     And one of those papers that you refer to is
  10     the Graham that you cite in your study, correct?
  11         A.     Yes.    That is a recent paper in a respected
  12     journal, I think.
  13         Q.     The Graham authors, you say, quote,
  14     "hypothesized that the more pronounced anticoagulant
  15     effects observed during treatment with rivaroxaban may
  16     be due to the fact that a higher rivaroxaban dose is
  17     required for once-daily dosing compared with
  18     dabigatran."      Right?
  19         A.     Yeah.
  20         Q.     And, again, the Graham authors were stating an
  21     unproven hypothesis?
  22         A.     Yes.    When they use the word "hypothesized,"
  23     then it's a hypothesis, yes.        But the results of the
  24     study were clear, I think.
  25         Q.     Well, the Graham paper did not provide data



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                                                                   Page 193
    1        Q.     And the PT was measured at some point after two
    2    weeks after the start of treatment, right?
    3        A.     Yes.
    4        Q.     And so like in ROCKET, the timing of the PT
    5    sample was independent of when the bleeding occurred?
    6        A.     We discussed that before.
    7        Q.     But it's true in Nakano, too, correct?
    8        A.     It's almost impossible to have a plasma sample
    9    the day before bleeding because you never know when it
  10     occurs.
  11         Q.     Right.
  12         A.     So that is not a surprise that, let's say, the
  13     coagulation data are not on the day of the incident or
  14     the bleeding.
  15         Q.     Would you agree that prothrombin times can
  16     differ depending on which thromboplastin reagent you
  17     use?
  18         A.     Yes.
  19         Q.     And even with one type of reagent like
  20     Neoplastin, there's variation from batch to batch,
  21     right?
  22         A.     Well, let's say when you compare different
  23     batches of Neoplastin, there can be batch-to-batch
  24     variation, yes.
  25         Q.     And you suggest in your report that these



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                                                                   Page 197
    1    Xa is in the path of intrinsic pathway, yes.
    2               So the intrinsic pathway starts with a number
    3    of other coagulation factor activations.           And then
    4    finally you get Xa and you get thrombin.           The extrinsic
    5    pathway comes from another side issue factor, VIIa, X,
    6    Xa.
    7               So there are two pathways to make Xa.          So
    8    strictly spoken, Xa is an intermediate coagulation
    9    factor in both pathways.       I have to think about that
  10     for --
  11           Q.   Yeah.
  12           A.   -- for definition, yeah, because Xa is at a
  13     point where the two pathways meet.          So I think by
  14     definition, it's a component in both pathways.
  15           Q.   So now that you've gone through that, do you
  16     agree that Factor Xa inhibition affects both the
  17     extrinsic and the intrinsic coagulation pathway?
  18           A.   When you measure the intrinsic coagulation
  19     pathway in the intrinsic clotting assay like the aPTT,
  20     Xa is there.     Inhibitors of Xa you can pick up also with
  21     the aPTT with the intrinsic pathway, yes.
  22           Q.   You're agreeing with me?
  23           A.   I agree fully.
  24           Q.   PT assays lack sensitivity at low rivaroxaban
  25     concentration levels, correct?



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                                                                   Page 198
    1        A.     Yes.
    2        Q.     For example, Neoplastin can only measure plasma
    3    levels down to approximately 50 micrograms per liter.
    4        A.     Well, I don't know the exact number, but let's
    5    say it is inherent to the test when you do that with
    6    undiluted tissue factor, undiluted PT, as is used in the
    7    INR determination, well, the test is insensitive to low
    8    levels of rivaroxaban, yes.
    9        Q.     Do you have any idea how widely available the
  10     Neoplastin reagent is?
  11         A.     I have no idea.     I think when I would like to
  12     order Neoplastin, that's not a problem.           I go to the
  13     company and I say, "Please send me Neoplastin," and they
  14     will be very happy to send me Neoplastin.
  15         Q.     Do you know if it would be feasible for all
  16     laboratories testing PT in patients on rivaroxaban all
  17     to use Neoplastin?      Do you know if there's enough
  18     Neoplastin produced for all the laboratories testing PT
  19     to use Neoplastin?
  20         A.     I think that the company produces Neoplastin as
  21     much as they need for their -- for their clients, and
  22     when they've got more clients they probably will -- very
  23     likely will make more Neoplastin.
  24         Q.     Do you have any idea how much Neoplastin they
  25     can make?



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                                                                   Page 230
    1    the patient in the fourth quartile, let's say their
    2    prothrombin time comes back at 21 seconds.
    3               So what -- what do you do with the dose at that
    4    level?    What do you do?      Do you give them 10?
    5        A.     Can you repeat?
    6        Q.     Yeah.    You've gotten your patient to a steady
    7    state.    He's taken 20 milligrams a day at steady state
    8    and you test his prothrombin time using Neoplastin, and
    9    the prothrombin time is 21 seconds.          He's in the fourth
  10     quartile.    Now what?
  11                What do you do with the dose?
  12                What dose do you give him when you get that
  13     result?
  14                Do you give him 5 or 10 or 15 or 20 or some
  15     other dose?
  16         A.     Well, when you look at Figure 9B.
  17         Q.     All right.    9B.   And tell me what page of your
  18     report that's on.
  19         A.     Huh?
  20         Q.     Remind me what page that's on, please.
  21         A.     Okay.   This is 019.
  22         Q.     Okay.   I'm with you on Figure 9A and B.
  23                All right?
  24         A.     Yes.    So there, you'll see, let's say, the
  25     bleeding risk in the four quartiles.



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                                                                   Page 231
    1        Q.     Yes.
    2        A.     Going from the first to the second to the third
    3    to the fourth.
    4        Q.     I do, I see that.
    5        A.     But we are talking about fourth quartile.
    6        Q.     Yep.    Fourth quartile, right.
    7        A.     So strictly looking at this figure, and you
    8    say, well, the bleeding risk of someone in the fourth
    9    quartile of prothrombin time is 7.
  10         Q.     Let's say that.
  11         A.     If you would like to bring down this person to
  12     a bleeding risk of 3 to 4, you should bring him to the
  13     second quartile.
  14         Q.     All right.    How do you do that?
  15         A.     Well, you can calculate and -- and -- that the
  16     rivaroxaban level is 270 average in the fourth quartile.
  17         Q.     Okay.
  18         A.     It is 90 in the second quartile.
  19                When you aim at the second quartile where the
  20     rivaroxaban level is three times lower, I would reduce
  21     the daily dose with a factor of 3.          This is, let's say,
  22     a start in thinking.
  23         Q.     Reduce the daily dose by a factor of 3.
  24                Are you saying you would then give him
  25     one third the dose?



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                                                                   Page 232
    1        A.     Yes, because I think that, let's say, in that
    2    particular patient when there is a strict correlation
    3    between exposure, prothrombin time, and rivaroxaban
    4    level, yeah, this paper -- this figure suggests when you
    5    would like to bring him back to the second quartile.
    6        Q.     Yes.
    7        A.     Well, on the average, you have to reduce the
    8    level by a factor of 3.       So that would mean that you
    9    reduce the daily dose from 20 to 7 or 8 or something
  10     like that when you want to bring him back to the risk
  11     level of the second or third quartile, you --
  12         Q.     So let's say we have -- I don't think we have
  13     5-milligram tablets, but maybe we do.
  14         A.     We have them, I think.
  15         Q.     Would you give him five and a half tablets or
  16     five -- or what would you do?
  17         A.     I would probably half the dose.
  18         Q.     Half the dose.
  19         A.     Yes.
  20         Q.     Give him 10 milligrams?
  21         A.     A day.
  22         Q.     A day?
  23         A.     Yes.
  24         Q.     And how do you know that -- if this person's in
  25     the fourth quartile -- we know that.



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                                                                   Page 240
    1    when you are in the fourth quartile, your prothrombin
    2    time is higher than 20 seconds, then you have a higher
    3    risk of bleeding than those with a lower prothrombin
    4    time.
    5        Q.     I totally get it.
    6               And I don't want that high risk of bleeding,
    7    but I do want to prevent a stroke.          So can you tell me,
    8    is there any evidence that you can show me, Doctor, that
    9    if I take 10 milligrams, that's going to be enough?
  10         A.     Well, as long as it is not tested in atrial
  11     fibrillation patients, there is no scientific evidence.
  12         Q.     All right.
  13         A.     You have to do a dose finding; and conclusions
  14     here are based on, let's say, the correlation or the
  15     association between prothrombin time and rivaroxaban
  16     level.
  17         Q.     Doctor, if you would look, please, at Page 18
  18     of your report.     I'm looking at Table 3, Doctor.
  19                You've got this table of the quartiles from the
  20     FDA with some added data of your own, right?
  21                You put in the median for the PT?
  22         A.     Well, they put in the median in the figure.
  23         Q.     All right.    You derived it from the figure.
  24         A.     Yes.
  25         Q.     They didn't put in any concentration level?



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    1                          C E R T I F I C A T E
    2
    3               I, TRINA B. WELLSLAGER, Registered Professional
    4    Reporter and Notary Public, do hereby certify that,
    5    pursuant to notice, the deposition of JAN ROSING, PH.D.,
    6    was duly taken on December 9, 2016, at 9:04 a.m. before
    7    me.
    8               The said JAN ROSING, PH.D., was duly sworn by
    9    me according to law to tell the truth, the whole truth
  10     and nothing but the truth and thereupon did testify as
  11     set forth in the above transcript of testimony.            The
  12     testimony was taken down stenographically by me.             I do
  13     further certify that the above deposition is full,
  14     complete, and a true record of all the testimony given
  15     by the said witness.
  16
  17                 _____________________________________________
  18                 Trina B. Wellslager, RPR
  19
  20                (The foregoing certification of this transcript
  21     does not apply to any reproduction of the same by any
  22     means, unless under the direct control and/or
  23     supervision of the certifying reporter.)
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